













			




IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-70,411-01






ROBERT LEE BANARGENT, Relator


v.


DISTRICT CLERK, FORT BEND COUNTY, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 41,181A IN THE 240TH JUDICIAL DISTRICT COURT

FROM FORT BEND COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an 11.07 application for a writ of habeas
corpus in the 240th Judicial District Court of Fort Bend County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Fort Bend County, is ordered to file a response, which may be made by: submitting the record on
such habeas corpus application; submitting a copy of a timely filed order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that
the nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. Art. 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Fort Bend County.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: October 8, 2008

Do not publish	


